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     Attorney for Defendants Pinal County and Pinal County Board of Supervisors
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                                  FOR THE DISTRICT OF ARIZONA
 8
 9   SCOTT STROBEL; SUSAN STROBEL;                   Case No.:
     RYAN STROBEL; LARRY STROBEL; and
10   LOGAN STROBEL, A Minor, by and
     through his next friend, SCOTT STROBEL,
11                                                   NOTICE OF REMOVAL OF ACTION
                          Plaintiffs,                FROM STATE COURT
12
     vs.
13
     PINAL COUNTY; THE PINAL COUNTY
14   BOARD OF SUPERVISORS; M. LANDO
     VOYLES;   PAUL   BABEU; SHAWN
15   WILSON; TIM GAFFNEY; DOES I-XX and
     BLACK & WHITE CORPORATIONS I-V,
16
                          Defendants.
17
18   To the Clerk of the above entitled Court:
19
20          PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§1331, 1441 and 1446 and U.S.

21   District Court Local Rule 3.6, Defendants Pinal County and the Pinal County Board of
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                                                 1
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 1   Supervisors1 hereby notice the removal of the above-captioned case from the Arizona Superior
 2   Court, County of Pinal, to this Court and in support thereof respectfully show:
 3
            1.      Defendants received the First Amended Complaint in the state court action on or
 4
     about May 12, 2017. Copies of such are attached hereto as Exhibit “A” and incorporated herein
 5
 6   by reference. Copies of State Court records, which include the Original Complaint, Defendants’
 7   Motion to Dismiss, and Plaintiffs’ Response to Motion to Dismiss, are attached hereto as
 8
     Exhibit “B.”
 9
            2.      This Notice of Removal is being filed within thirty days after receipt of the First
10
11   Amended Complaint, which state federal claims for the first time in the underlying state court
12   action, and is timely filed under 28 U.S.C. §1446(b).
13
            3.      The time for Defendants to answer or move with respect to the First Amended
14
     Complaint has not expired; Defendants have not answered or otherwise responded to the First
15
16   Amended Complaint. Although Defendants filed a Motion to Dismiss in response to Plaintiffs’
17   Original Complaint, the inclusion of federal law claims will necessitate the filing of a new
18
     Motion to Dismiss.
19
            4.      Upon information and belief, Plaintiffs are residents of the State of Arizona.
20
21          5.      A copy of the Notice has been filed with the Pinal County Clerk of the Superior

22                  Court.
23
24
25
     1
       Upon information and belief, named Defendants M. Lando Voyles, Paul Babeu, Shawn
26   Wilson, and Tim Gaffney have not yet been served with the First Amended Complaint and,
     therefore, have not yet been joined as parties.


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 1          6.      This is a civil action in which Plaintiff appears to alleges causes of action pursuant
 2   to 42 U.S.C. §§1983, 1985, and 1988 under the First, Fourth, Fifth and Fourteenth
 3
     Amendments to the U.S. Constitution, as well as allegedly pendent state law claims for abuse
 4
     of process, malicious prosecution, defamation, false light invasion of privacy, intentional
 5
 6   infliction of emotional distress, negligent infliction of emotional distress, negligence,
 7   negligence per se, aiding and abetting tortious conduct, and constructive discharge.
 8
            WHEREFORE, Defendants Pinal County and the Pinal County Board of Supervisors
 9
     request the above-entitled action now pending in the Superior Court of the State of Arizona, in
10
11   and for the County of Pinal, be removed to this Court and that all further proceedings in this
12   action be conducted in this Court as provided by law, and as a Phoenix Precinct matter pursuant
13
     to LRCiv. 77.1.
14
            DATED this 23rd day of May, 2017.
15
                                                 JELLISON LAW OFFICES, PLLC
16
                                                 By: s/James M. Jellison____________
17                                               James M. Jellison
                                                 Attorney for Defendants Pinal County and the Pinal
18                                               County Board of Supervisors
19   I hereby certify that on May 23, 2017,
     I electronically transmitted the attached document
20   to the Clerk’s Office using the
     CM/ECF System for filing.
21
22   COPY mailed same date to:

23   Matthew S. Long
     ROWLEY LONG & SIMMONS, PLLC
24   3707 East Southern Avenue, Ste. 1103
     Mesa, AZ 85206
25   Attorneys for Plaintiffs

26
     s/Kasey M. Rivera


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